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                         Exhibit 4
                          (Part 1)
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      Claims of                            SilverStone ICEMYST 240
   the ’450 Patent
   1. A cooling    The SilverStone ICEMYST 240 is a cooling apparatus.
   apparatus,
   comprising:     See, e.g., Product Sheet - SilverStone ICEMYST 240, available at
                   https://www.silverstonetek.com/upload/sstedm/im240-argb/IM240-
                   ARGB%20Product%20Sheet-EN.pdf.




   a base plate     The SilverStone ICEMYST 240 includes a base plate configured to
   configured to    dissipate heat and including a heat exchange unit.
   dissipate heat

                                             1
                                    Exhibit 4 (Part 1)
                                       Page 148
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      Claims of                          SilverStone ICEMYST 240
   the ’450 Patent
   and including a An image of the base plate including the heat exchange unit is reproduced
   heat exchange   below:
   unit;




                        The heat exchange unit is the series of parallel fins in a rectangular
                        arrangement that rests on top of the recessed flat portion in the middle of
                        the base plate.

                        The base plate is configured to dissipate heat through the heat exchange
                        unit.

   a cover member       The SilverStone ICEMYST 240 includes a cover member coupled to the
   coupled to the       base plate and at least partially enclosing the heat exchange unit.
   base plate and
   at least partially   The cover member is comprised of a plastic membrane.
   enclosing the
   heat exchange        The plastic membrane is shown below, covering the heat exchange unit in
   unit,                an assembled position:




                                                    2
                                         Exhibit 4 (Part 1)
                                            Page 149
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      Claims of                             SilverStone ICEMYST 240
   the ’450 Patent




                   When the SilverStone ICEMYST 240 is assembled, the cover member is
                   coupled to the base plate and at least partially encloses the heat exchange
                   unit.
   the cover       The cover member and the base plate in the SilverStone ICEMYST 240
   member and the define a heat exchange chamber that includes the heat exchange unit.
   base plate
   defining a heat Specifically, the ceiling of the heat exchange chamber is defined by the
   exchange        plastic membrane, the upper portion of the sides of the heat exchange
   chamber that    chamber is defined by the side walls of the plastic membrane, the lower
   includes the    portion of the sides of the heat exchange chamber is defined by the side
   heat exchange   walls of the recessed portion of the base plate, and the floor of the heat
   unit,           exchange chamber is defined by the bottom of the recessed portion of the
                   base plate, as well as the sections of the unrecessed portion of the base
                   plate that are within the bounds set by the side walls of the plastic
                   membrane.

                     The side walls of the recessed portion of the base plate—which define the
                     lower portion of the sides of the heat exchange chamber—are shown
                     below:


                                                3
                                      Exhibit 4 (Part 1)
                                         Page 150
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      Claims of                              SilverStone ICEMYST 240
   the ’450 Patent




                      As described, this heat exchange chamber includes the heat exchange unit.

   the cover          The cover member in the SilverStone ICEMYST 240 defines a first
   member             opening and a second opening.
   defining a first
   opening and a      Specifically, these two openings are in the top of the plastic membrane
   second opening,    (which is the ceiling of the cover member).




                                                 4
                                       Exhibit 4 (Part 1)
                                          Page 151
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      Claims of                               SilverStone ICEMYST 240
   the ’450 Patent




   and the cover       In the SilverStone ICEMYST 240, the cover member is coupled to the
   member being        base plate such that at least one of the first opening and the second opening
   coupled to the      is above the heat exchange chamber.
   base plate such
   that at least one   In particular, both of the openings in the plastic membrane (shown above)
   of the first        are above the heat exchange chamber.
   opening and the
   second opening
   is above the
   heat exchange
   chamber;
   a flow guidance     The SilverStone ICEMYST 240 includes a flow guidance plate disposed
   plate disposed      on the cover member.
   on the cover
   member;             The flow guidance plate is shown below.

                       First, two views of the top of the flow guidance plate are depicted here:




                                                  5
                                        Exhibit 4 (Part 1)
                                           Page 152
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      Claims of                            SilverStone ICEMYST 240
   the ’450 Patent




                     Second, two views of the bottom of the flow guidance plate are depicted
                     here:




                     When the SilverStone ICEMYST 240 is assembled, the flow guidance
                     plate is disposed on the cover member (i.e., the plastic membrane).

   a housing         The SilverStone ICEMYST 240 includes a housing disposed on the flow
   disposed on the   guidance plate.
   flow guidance
   plate; and        Images of the top and bottom of the housing are shown below:


                                               6
                                     Exhibit 4 (Part 1)
                                        Page 153
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      Claims of                    SilverStone ICEMYST 240
   the ’450 Patent




                                       7
                              Exhibit 4 (Part 1)
                                 Page 154
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      Claims of                                SilverStone ICEMYST 240
   the ’450 Patent



                        When the SilverStone ICEMYST 240 is assembled, the housing fits on top
                        of the flow guidance plate. Thus, the housing is disposed on the flow
                        guidance plate.
   an outer casing      The SilverStone ICEMYST 240 includes an outer casing secured to the
   secured to the       base plate and at least partially enclosing the cover member, the flow
   base plate and       guidance plate, and the housing.
   at least partially
   enclosing the        Images of this outer casing are shown below:
   cover member,
   the flow
   guidance plate,
   and the
   housing.




                        When the SilverStone ICEMYST 240 is assembled, the outer casing is
                        secured to the base plate and at least partially encloses the cover member,
                        the flow guidance plate, and the housing.




                                                   8
                                         Exhibit 4 (Part 1)
                                            Page 155
Case 5:24-cv-00353-KK-SP Document 1-5 Filed 02/13/24 Page 10 of 41 Page ID #:161




      Claims of                                 SilverStone PF240
   the ’450 Patent
   1. A cooling    The SilverStone PF240 is a cooling apparatus.
   apparatus,
   comprising:     See, e.g., Product Sheet - SilverStone PF240, available at
                   https://www.silverstonetek.com/upload/sstedm/pf240-argb/PF240-ARGB-
                   V2-Product_sheet-EN.pdf.




   a base plate      The SilverStone PF240 includes a base plate configured to dissipate heat
   configured to     and including a heat exchange unit.
   dissipate heat
   and including a   An image of the base plate including the heat exchange unit is reproduced
   heat exchange     below:
   unit;



                                               1
                                     Exhibit 4 (Part 1)
                                        Page 156
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      Claims of                                     SilverStone PF240
   the ’450 Patent




                        The heat exchange unit is the series of parallel fins in a rectangular
                        arrangement that rests on top of the recessed flat portion in the middle of
                        the base plate.

                        The base plate is configured to dissipate heat through the heat exchange
                        unit.

   a cover member       The SilverStone PF240 includes a cover member coupled to the base plate
   coupled to the       and at least partially enclosing the heat exchange unit.
   base plate and
   at least partially   The cover member is comprised of a plastic membrane.
   enclosing the
   heat exchange        The plastic membrane is shown below, covering the heat exchange unit in
   unit,                an assembled position:




                                                    2
                                         Exhibit 4 (Part 1)
                                            Page 157
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      Claims of                                 SilverStone PF240
   the ’450 Patent




                   When the SilverStone PF240 is assembled, the cover member is coupled to
                   the base plate and at least partially encloses the heat exchange unit.
   the cover       The cover member and the base plate in the SilverStone PF240 define a
   member and the heat exchange chamber that includes the heat exchange unit.
   base plate
   defining a heat Specifically, the ceiling of the heat exchange chamber is defined by the
   exchange        plastic membrane, the upper portion of the sides of the heat exchange
   chamber that    chamber is defined by the side walls of the plastic membrane, the lower
   includes the    portion of the sides of the heat exchange chamber is defined by the side
   heat exchange   walls of the recessed portion of the base plate, and the floor of the heat
   unit,           exchange chamber is defined by the bottom of the recessed portion of the
                   base plate.

                     The side walls of the recessed portion of the base plate—which define the
                     lower portion of the sides of the heat exchange chamber—are shown
                     below:

                                               3
                                     Exhibit 4 (Part 1)
                                        Page 158
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      Claims of                                  SilverStone PF240
   the ’450 Patent




                      As described, this heat exchange chamber includes the heat exchange unit.

   the cover          The cover member in the SilverStone PF240 defines a first opening and a
   member             second opening.
   defining a first
   opening and a      Specifically, these two openings are in the top of the plastic membrane
   second opening,    (which is the ceiling of the cover member).




                                                 4
                                       Exhibit 4 (Part 1)
                                          Page 159
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      Claims of                                    SilverStone PF240
   the ’450 Patent




   and the cover       In the SilverStone PF240, the cover member is coupled to the base plate
   member being        such that at least one of the first opening and the second opening is above
   coupled to the      the heat exchange chamber.
   base plate such
   that at least one   In particular, both of the openings in the plastic membrane (shown above)
   of the first        are above the heat exchange chamber.
   opening and the
   second opening
   is above the
   heat exchange
   chamber;
   a flow guidance     The SilverStone PF240 includes a flow guidance plate disposed on the
   plate disposed      cover member.
   on the cover
   member;             The flow guidance plate is shown below.

                       First, two views of the top of the flow guidance plate are depicted here:

                                                  5
                                        Exhibit 4 (Part 1)
                                           Page 160
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      Claims of                                 SilverStone PF240
   the ’450 Patent




                     Second, two views of the bottom of the flow guidance plate are depicted
                     here:




                     When the SilverStone PF240 is assembled, the flow guidance plate is
                     disposed on the cover member (i.e., the plastic membrane).

   a housing         The SilverStone PF240 includes a housing disposed on the flow guidance
   disposed on the   plate.



                                               6
                                     Exhibit 4 (Part 1)
                                        Page 161
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      Claims of                               SilverStone PF240
   the ’450 Patent
   flow guidance   Images of the top and bottom of the housing are shown below:
   plate; and




                        When the SilverStone PF240 is assembled, the housing fits on top of the
                        flow guidance plate. Thus, the housing is disposed on the flow guidance
                        plate.
   an outer casing      The SilverStone PF240 includes an outer casing secured to the base plate
   secured to the       and at least partially enclosing the cover member, the flow guidance plate,
   base plate and       and the housing.
   at least partially
   enclosing the        Images of this outer casing are shown below:
   cover member,
   the flow
   guidance plate,
   and the
   housing.




                                                   7
                                         Exhibit 4 (Part 1)
                                            Page 162
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      Claims of                                  SilverStone PF240
   the ’450 Patent




                     When the SilverStone PF240 is assembled, the outer casing is secured to
                     the base plate and at least partially encloses the cover member, the flow
                     guidance plate, and the housing.




                                                8
                                      Exhibit 4 (Part 1)
                                         Page 163
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    Claims of                                 SilverStone PF240W
     the ’450
      Patent
   1. A           The SilverStone PF240W is a cooling apparatus.
   cooling
   apparatus,     See, e.g., Product Sheet - SilverStone PF240W, available at
   comprising:    https://www.silverstonetek.com/upload/sstedm/pf240w-argb/PF240W-ARGB-
                  V2-Product_Sheet-EN.pdf.




   a base plate   The SilverStone PF240W includes a base plate configured to dissipate heat and
   configured     including a heat exchange unit.
   to dissipate
   heat and       An image of the base plate including the heat exchange unit is reproduced
   including a    below:
   heat
   exchange
   unit;




                                                1
                                      Exhibit 4 (Part 1)
                                         Page 164
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    Claims of                                  SilverStone PF240W
    the ’450
     Patent




                  The heat exchange unit is the series of parallel fins in a rectangular
                  arrangement that rests on top of the recessed flat portion in the middle of the
                  base plate.

                  The base plate is configured to dissipate heat through the heat exchange unit.

   a cover        The SilverStone PF240W includes a cover member coupled to the base plate
   member         and at least partially enclosing the heat exchange unit.
   coupled to
   the base       The cover member is comprised of a plastic membrane.
   plate and at
   least          The plastic membrane is shown below, covering the heat exchange unit in an
   partially      assembled position:
   enclosing
   the heat
   exchange
   unit,




                                                  2
                                       Exhibit 4 (Part 1)
                                          Page 165
Case 5:24-cv-00353-KK-SP Document 1-5 Filed 02/13/24 Page 20 of 41 Page ID #:171




    Claims of                                  SilverStone PF240W
    the ’450
     Patent




                  When the SilverStone PF240W is assembled, the cover member is coupled to
                  the base plate and at least partially encloses the heat exchange unit.
   the cover      The cover member and the base plate in the SilverStone PF240W define a heat
   member         exchange chamber that includes the heat exchange unit.
   and the
   base plate     Specifically, the ceiling of the heat exchange chamber is defined by the plastic
   defining a     membrane, the upper portion of the sides of the heat exchange chamber is
   heat           defined by the side walls of the plastic membrane, the lower portion of the
   exchange       sides of the heat exchange chamber is defined by the side walls of the recessed
   chamber        portion of the base plate, and the floor of the heat exchange chamber is defined
   that           by the bottom of the recessed portion of the base plate.
   includes the
   heat           The side walls of the recessed portion of the base plate—which define the
   exchange       lower portion of the sides of the heat exchange chamber—are shown below:
   unit,




                                                 3
                                       Exhibit 4 (Part 1)
                                          Page 166
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    Claims of                               SilverStone PF240W
    the ’450
     Patent




                As described, this heat exchange chamber includes the heat exchange unit.

   the cover    The cover member in the SilverStone PF240W defines a first opening and a
   member       second opening.
   defining a
   first        Specifically, these two openings are in the top of the plastic membrane (which
   opening      is the ceiling of the cover member).
   and a
   second
   opening,




                                               4
                                    Exhibit 4 (Part 1)
                                       Page 167
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    Claims of                                   SilverStone PF240W
    the ’450
     Patent




   and the         In the SilverStone PF240W, the cover member is coupled to the base plate
   cover           such that at least one of the first opening and the second opening is above the
   member          heat exchange chamber.
   being
   coupled to      In particular, both of the openings in the plastic membrane (shown above) are
   the base        above the heat exchange chamber.
   plate such
   that at least
   one of the
   first
   opening
   and the
   second
   opening is
   above the
   heat
   exchange
   chamber;
   a flow          The SilverStone PF240W includes a flow guidance plate disposed on the cover
   guidance        member.


                                                   5
                                        Exhibit 4 (Part 1)
                                           Page 168
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    Claims of                                 SilverStone PF240W
     the ’450
      Patent
   plate
   disposed on   The flow guidance plate is shown below.
   the cover
   member;       First, two views of the top of the flow guidance plate are depicted here:




                 Second, two views of the bottom of the flow guidance plate are depicted here:




                 When the SilverStone PF240W is assembled, the flow guidance plate is
                 disposed on the cover member (i.e., the plastic membrane).


                                                 6
                                      Exhibit 4 (Part 1)
                                         Page 169
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    Claims of                                SilverStone PF240W
    the ’450
     Patent

   a housing     The SilverStone PF240W includes a housing disposed on the flow guidance
   disposed on   plate.
   the flow
   guidance      Images of the top and bottom of the housing are shown below:
   plate; and




                 When the SilverStone PF240W is assembled, the housing fits on top of the
                 flow guidance plate. Thus, the housing is disposed on the flow guidance plate.
   an outer      The SilverStone PF240W includes an outer casing secured to the base plate
   casing        and at least partially enclosing the cover member, the flow guidance plate, and
   secured to    the housing.
   the base
   plate and at Images of this outer casing are shown below:
   least
   partially
   enclosing
   the cover
   member,
   the flow
   guidance
   plate, and
   the housing.




                                                7
                                      Exhibit 4 (Part 1)
                                         Page 170
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    Claims of                               SilverStone PF240W
    the ’450
     Patent




                When the SilverStone PF240W is assembled, the outer casing is secured to the
                base plate and at least partially encloses the cover member, the flow guidance
                plate, and the housing.




                                               8
                                    Exhibit 4 (Part 1)
                                       Page 171
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    Claims of                              SilverStone ICEGEM360
     the ’450
      Patent
   1. A           The SilverStone ICEGEM360 is a cooling apparatus.
   cooling
   apparatus,     See, e.g., Product Sheet - SilverStone ICEGEM360, available at
   comprising:    https://www.silverstonetek.com/upload/sstedm/ig360-argb/IG360-ARGB-
                  Product_Sheet-EN.pdf.




   a base plate   The SilverStone ICEGEM360 includes a base plate configured to dissipate
   configured     heat and including a heat exchange unit.
   to dissipate
   heat and       An image of the base plate including the heat exchange unit is reproduced
   including a    below:
   heat
   exchange
   unit;




                                                1
                                      Exhibit 4 (Part 1)
                                         Page 172
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    Claims of                                SilverStone ICEGEM360
    the ’450
     Patent




                  The heat exchange unit is the series of parallel fins in a rectangular
                  arrangement that rests on top of the recessed flat portion in the middle of the
                  base plate.

                  The base plate is configured to dissipate heat through the heat exchange unit.

   a cover        The SilverStone ICEGEM360 includes a cover member coupled to the base
   member         plate and at least partially enclosing the heat exchange unit.
   coupled to
   the base       The cover member is comprised of a plastic membrane.
   plate and at
   least          The plastic membrane is shown below, covering the heat exchange unit in an
   partially      assembled position:
   enclosing
   the heat
   exchange
   unit,




                                                  2
                                       Exhibit 4 (Part 1)
                                          Page 173
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    Claims of                             SilverStone ICEGEM360
    the ’450
     Patent




                When the SilverStone ICEGEM360 is assembled, the cover member is coupled
                to the base plate and at least partially encloses the heat exchange unit.
   the cover    The cover member and the base plate in the SilverStone ICEGEM360 define a
   member       heat exchange chamber that includes the heat exchange unit.
   and the
   base plate   Specifically, the ceiling of the heat exchange chamber is defined by the plastic
   defining a   membrane, the upper portion of the sides of the heat exchange chamber is
   heat         defined by the side walls of the plastic membrane, the lower portion of the
   exchange     sides of the heat exchange chamber is defined by the side walls of the recessed
   chamber      portion of the base plate, and the floor of the heat exchange chamber is defined
   that         by the bottom of the recessed portion of the base plate.


                                               3
                                     Exhibit 4 (Part 1)
                                        Page 174
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    Claims of                               SilverStone ICEGEM360
     the ’450
      Patent
   includes the
   heat           The side walls of the recessed portion of the base plate—which define the
   exchange       lower portion of the sides of the heat exchange chamber—are shown below:
   unit,




   the cover      The cover member in the SilverStone ICEGEM360 defines a first opening and
   member         a second opening.
   defining a
   first          Specifically, these two openings are in the top of the plastic membrane (which
   opening        is the ceiling of the cover member).
   and a
   second
   opening,




                                                 4
                                      Exhibit 4 (Part 1)
                                         Page 175
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    Claims of                                SilverStone ICEGEM360
    the ’450
     Patent




   and the         In the SilverStone ICEGEM360, the cover member is coupled to the base plate
   cover           such that at least one of the first opening and the second opening is above the
   member          heat exchange chamber.
   being
   coupled to      In particular, both of the openings in the plastic membrane (shown above) are
   the base        above the heat exchange chamber.
   plate such
   that at least
   one of the
   first
   opening
   and the
   second


                                                  5
                                        Exhibit 4 (Part 1)
                                           Page 176
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    Claims of                              SilverStone ICEGEM360
     the ’450
      Patent
   opening is
   above the
   heat
   exchange
   chamber;
   a flow        The SilverStone ICEGEM360 includes a flow guidance plate disposed on the
   guidance      cover member.
   plate
   disposed on   The flow guidance plate is shown below.
   the cover
   member;       First, two views of the top of the flow guidance plate are depicted here:




                 Second, two views of the bottom of the flow guidance plate are depicted here:




                                                 6
                                      Exhibit 4 (Part 1)
                                         Page 177
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    Claims of                             SilverStone ICEGEM360
    the ’450
     Patent




                 When the SilverStone ICEGEM360 is assembled, the flow guidance plate is
                 disposed on the cover member (i.e., the plastic membrane).

   a housing     The SilverStone ICEGEM360 includes a housing disposed on the flow
   disposed on   guidance plate.
   the flow
   guidance      Images of the top and bottom of the housing are shown below:
   plate; and




                 When the SilverStone ICEGEM360 is assembled, the housing fits on top of the
                 flow guidance plate. Thus, the housing is disposed on the flow guidance plate.




                                               7
                                     Exhibit 4 (Part 1)
                                        Page 178
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    Claims of                               SilverStone ICEGEM360
     the ’450
      Patent
   an outer       The SilverStone ICEGEM360 includes an outer casing secured to the base
   casing         plate and at least partially enclosing the cover member, the flow guidance
   secured to     plate, and the housing.
   the base
   plate and at   Images of this outer casing are shown below:
   least
   partially
   enclosing
   the cover
   member,
   the flow
   guidance
   plate, and
   the housing.




                  When the SilverStone ICEGEM360 is assembled, the outer casing is secured to
                  the base plate and at least partially encloses the cover member, the flow
                  guidance plate, and the housing.




                                                 8
                                      Exhibit 4 (Part 1)
                                         Page 179
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    Claims of                             SilverStone VIDA 240 Slim
     the ’450
      Patent
   1. A           The SilverStone VIDA 240 Slim is a cooling apparatus.
   cooling
   apparatus,     See, e.g., Product Sheet - SilverStone VIDA 240 Slim, available at
   comprising:    https://www.silverstonetek.com/upload/sstedm/VIDA%20240%
                  20SLIM/VIDA240-SLIM-Product_Sheet-EN.pdf.




   a base plate   The SilverStone VIDA 240 Slim includes a base plate configured to dissipate
   configured     heat and including a heat exchange unit.
   to dissipate
   heat and       An image of the base plate including the heat exchange unit is reproduced
   including a    below:
   heat
   exchange
   unit;




                                                 1
                                      Exhibit 4 (Part 1)
                                         Page 180
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    Claims of                               SilverStone VIDA 240 Slim
    the ’450
     Patent




                  The heat exchange unit is the series of parallel fins in a rectangular
                  arrangement that rests on top of the recessed flat portion in the middle of the
                  base plate.

                  The base plate is configured to dissipate heat through the heat exchange unit.

   a cover        The SilverStone VIDA 240 Slim includes a cover member coupled to the base
   member         plate and at least partially enclosing the heat exchange unit.
   coupled to
   the base       The cover member is comprised of a plastic membrane.
   plate and at
   least          The plastic membrane is shown below, covering the heat exchange unit in an
   partially      assembled position:
   enclosing
   the heat
   exchange
   unit,




                                                  2
                                       Exhibit 4 (Part 1)
                                          Page 181
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    Claims of                              SilverStone VIDA 240 Slim
    the ’450
     Patent




                  When the SilverStone VIDA 240 Slim is assembled, the cover member is
                  coupled to the base plate and at least partially encloses the heat exchange unit.
   the cover      The cover member and the base plate in the SilverStone VIDA 240 Slim define
   member         a heat exchange chamber that includes the heat exchange unit.
   and the
   base plate     Specifically, the ceiling of the heat exchange chamber is defined by the plastic
   defining a     membrane, the upper portion of the sides of the heat exchange chamber is
   heat           defined by the side walls of the plastic membrane, the lower portion of the
   exchange       sides of the heat exchange chamber is defined by the side walls of the recessed
   chamber        portion of the base plate, and the floor of the heat exchange chamber is defined
   that           by the bottom of the recessed portion of the base plate.
   includes the
   heat           The side walls of the recessed portion of the base plate—which define the
   exchange       lower portion of the sides of the heat exchange chamber—are shown below:
   unit,




                                                 3
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                                          Page 182
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    Claims of                            SilverStone VIDA 240 Slim
    the ’450
     Patent




                As described, this heat exchange chamber includes the heat exchange unit.

   the cover    The cover member in the SilverStone VIDA 240 Slim defines a first opening
   member       and a second opening.
   defining a
   first        Specifically, these two openings are in the top of the plastic membrane (which
   opening      is the ceiling of the cover member).
   and a
   second
   opening,




                                               4
                                    Exhibit 4 (Part 1)
                                       Page 183
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    Claims of                               SilverStone VIDA 240 Slim
    the ’450
     Patent




   and the         In the SilverStone VIDA 240 Slim, the cover member is coupled to the base
   cover           plate such that at least one of the first opening and the second opening is above
   member          the heat exchange chamber.
   being
   coupled to      In particular, both of the openings in the plastic membrane (shown above) are
   the base        above the heat exchange chamber.
   plate such
   that at least
   one of the
   first
   opening
   and the
   second
   opening is
   above the
   heat
   exchange
   chamber;
   a flow          The SilverStone VIDA 240 Slim includes a flow guidance plate disposed on
   guidance        the cover member.
   plate

                                                   5
                                        Exhibit 4 (Part 1)
                                           Page 184
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    Claims of                             SilverStone VIDA 240 Slim
     the ’450
      Patent
   disposed on
   the cover     In particular, the SilverStone VIDA 240 Slim has a guiding and housing
   member;       element, shown below.

                 First, a view of the top of the guiding and housing element is depicted here:




                 Second, a view of the bottom of the guiding and housing element is depicted
                 here:




                                                6
                                      Exhibit 4 (Part 1)
                                         Page 185
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    Claims of                             SilverStone VIDA 240 Slim
    the ’450
     Patent




                 The flow guidance plate is the lower portion of the guiding and housing
                 element. The bottom surface of the flow guidance plate is visible in the image
                 of the bottom of the guiding and housing element, shown above.

                 When the SilverStone VIDA 240 Slim is assembled, the flow guidance plate is
                 disposed on the cover member (i.e., the plastic membrane).

   a housing     The SilverStone VIDA 240 Slim includes a housing disposed on the flow
   disposed on   guidance plate.
   the flow
   guidance      In particular, the upper portion of the guiding and housing element shown
   plate; and    above is the housing. And because the upper portion of the guiding and


                                                7
                                     Exhibit 4 (Part 1)
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    Claims of                           SilverStone VIDA 240 Slim
    the ’450
     Patent
                housing element is above the lower portion of the guiding and housing element
                (i.e., the flow guidance plate), the housing is disposed on the flow guidance
                plate in the SilverStone VIDA 240 Slim.
   an outer     The SilverStone VIDA 240 Slim includes an outer casing secured to the base
   casing       plate and at least partially enclosing the cover member, the flow guidance
   secured to   plate, and the housing.
   the base
   plate and at Images of this outer casing are shown below:
   least
   partially
   enclosing
   the cover
   member,
   the flow
   guidance
   plate, and
   the housing.




                When the SilverStone VIDA 240 Slim is assembled, the outer casing is secured
                to the base plate and at least partially encloses the cover member, the flow
                guidance plate, and the housing.




                                              8
                                    Exhibit 4 (Part 1)
                                       Page 187
